           Case 1:20-vv-01473-UNJ Document 32 Filed 10/20/21 Page 1 of 3




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1473V
                                        (not to be published)


    JULIE ROUBIK, personal
    representative of the ESTATE OF                             Chief Special Master Corcoran
    THOMAS ROUBIK
                                                                Filed: September 17, 2021
                          Petitioner,
    v.                                                          Special Processing Unit                 (SPU);
                                                                Attorney’s Fees and Costs
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.

Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On October 27, 2020, Julie Roubik filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”), as personal representative of the estate of Thomas Roubik. Petitioner
alleged that “[a]s a direct and proximate result of the reaction to the influenza vaccination
administered to Thomas Roubik on November 8, 2019, he suffered from the effects of

1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all “§” ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:20-vv-01473-UNJ Document 32 Filed 10/20/21 Page 2 of 3




Guillain-Barré Syndrome which ultimately led to his untimely death.” (Petition at ¶ 16). On
May 21, 2021, a decision was issued awarding compensation to Petitioner based on the
Respondent’s proffer. (ECF No. 21).

        Petitioner has now filed a motion for attorney’s fees and costs, dated August 24,
2021 (ECF No. 26), requesting an award of $10,601.43 in fees and costs incurred at
Turning Point Litigation and $720.00 in attorney fees incurred at Ward Black Law 3. In
accordance with General Order No. 9, Petitioner filed a signed statement indicating that
Petitioner incurred out-of-pocket expenses in the amount of $4,069.05. (ECF No. 26-3).
Respondent reacted to the motion on September 7, 2021, indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, but deferring resolution of the amount to be awarded to my discretion. (ECF No.
27). On September 7, 2021, Petitioner filed a reply concurring with Respondent’s
response. (ECF No. 28).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, Petitioner is awarded the total amount of $15,390.48 4 as follows:

            •    A lump sum of $11,321.43, representing reimbursement for attorneys’
                 fees and costs, in the form of a check payable jointly to Petitioner and
                 Petitioner’s counsel;

            •    A lump sum of $4,069.05, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Julie Roubik, Personal
                 Representative of the Estate of Thomas Roubik.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 5
3
 Petitioner requests the total amount of attorney f ees be made payable to Turning Point Litigation, which
will disburse the incurred amount to Ward Black Law. (ECF No. 28 at 1).
4
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as f ees f or legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
5
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                    2
       Case 1:20-vv-01473-UNJ Document 32 Filed 10/20/21 Page 3 of 3




IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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